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   Case: 1:12-cv-10061 Document 171 Filed: 10/08/15 Page 1 of 2 PagelD #:982                          `J~~
  Case: 1:12-cv-10061 Document #: 173 Filed: 10/08/15 Page 1 of 3 PageID #:1461


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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS                                OCT 08 2015
                                 EASTERN DIVISION
                                                                                THOMAS G. BRUTON
Percy Coleman, Administrator for the                                          CLERK, U.S. DISTRICT COURT
Estate of Philip Coleman
                                                       Case No.: 12 cv 10061
      Plaintiff.
                                                       JUDGE KENNELLY
               v.

The City of Chicago, et al.

      Defendants.


                                         NOTICE OF FILING


TO:     Arlene Martin, Asst. Corp. Counsel, Suite 900, 30 N. LaSalle St., Chicago, IL. 60606
        Jonathan Green, Asst. Corp. Coun~.el, Suite 900. 30 N. LaSalle St., Chicago, II.. 60606


        PLEASE TAKE NOTICE that o7 October 8, 2015, the undersigned filed with the Clerk of
this Court, the EXHIBITS F AND G to Plaintiff's Appendix of Exhibits the service of which is
being made upon you.
                                                 S/Garrett Browne
                                                   Garrett Browne
ED FOX &ASSOCIATES
300 West Adams, Suite 330
Chicago, IL 60606
(312) 345-8877

                                  CERTIFICATE OF SERVICE

        I hereby certify that on October 8, 2015, I filed and served the foregoing Notice of Filing

with the Clerk of the Court using the Cm/EMF system. I further certify that copies of Exhibits F

and G were served via U.S. Mail to the above listed parties with postage prepaid
                                                                                             ooc~~~~°
                                                      /s/Garrett Browne

                                                       ED FOX &ASSOCIATES
                                                       300 West Adams, Suite 330
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                   EXHIBITS F AND G
                            (VIDEO FILES ON CD)
